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 1
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 8

 9                         UNITED STATES DISTRICT COURT
10                               DISTRICT OF ARIZONA
11

12   VERONICA BRlZUELA
                   Plaintiff,                COMPLAINT AND DEMAND FOR
13                                             YTRIAL
14
           vs.
                                             (Unlawful Debt Collection Practices)
15   GC SERVICES, LP; and DOES 1
     through 10, inclusive,                    emand Does Not Exceed $10,000
16
                   Defendants.
17

18

19

20                   COMPLAINT AND DEMAND FOR JURY TRIAL
21

22                                  1.   INTRODUCTION

23         1. This is an action for actual and statutory damages brought by Plaintiff,
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                                             - 1-

                                         COMPLAINT
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        Veronica Brizuela, an individual consumer, against Defendant, GC

 2      Services, LP, for violations of the Fair Debt Collection Practices Act, 15
 3
        U.S.C. § 1692 et seq. (hereinafter "FDCPA"), which prohibits debt
 4
        collectors from engaging in abusive, deceptive, and unfair practices.
 5

 6
                              II          JURISDICTION

 7   2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.
 8
        § 1337. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and
 9
        2202. Venue in this District is proper in that the Defendant transacts
10

11      business here.

12                                 III.     PARTIES
13
     3. Plaintiff, Veronica Brizuela, is a natural person with a permanent
14
        residence in Mesa, Maricopa County, Arizona 85207.
15

16   4. Upon information and belief, the Defendant, GC Services, LP, is a

17      corporation engaged in the business of collecting debt in this state and in
18
        several other states, with its principal place of business located at 6330
19
        Gulfton St., Suite 300, Houston, Harris County, Texas 77081. The
20

21      principal purpose of Defendant is the collection of debts in this state and
22
        several other states, and Defendant regularly attempts to collect debts
23
        alleged to be due another.
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                                     COMPLAINT
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     5. Defendant is engaged in the collection of debts from consumers using the

 2      mail and telephone. Defendant regularly attempts to collect consumer
 3
        debts alleged to be due to another. Defendant is a "debt collector" as
 4
        defined by the FDCPA, 15 U.S.C. § 1692a(6).
 5

 6
                        IV.   FACTUAL ALLEGATIONS

 7   6. The debt that Defendant is attempting to collect on is an alleged
 8
        obligation of a consumer to pay money arising out of a transaction in
 9
        which the money, property, insurance or services which are the subject 0
10

11      the transaction are primarily for personal, family, or household purposes,

12      whether or not such obligation has been reduced to judgment.
13
     7. Within one (1) year preceding the date ofthis Complaint, Defendant, in
14
        connection with the collection of the alleged debt, contact Plaintiff and
15

16      threatened to garnish Plaintiff swages.

17   8. Defendant has no standing to commence garnishment proceedings on
18
        behalf of the creditor.
19
     9. Defendant is a debt collection company and as a debt collection company
20

21      attempting to collection an alleged debt, Defendant can only refer the
22
        matter back to the creditor with a recommendation that the original
23
        creditor attempt legal proceedings which could result in garnishment.
24

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                                  COMPLAINT
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     10.The representations made to Plaintiff by Defendant regarding
 1

 2      garnishment were false.
 3
     11. The natural consequences of Defendant's statements and actions were to
 4
        unjustly condemn and vilify Plaintifffor her non-payment ofthe debt she
 5

 6
        allegedly owed.

 7   12.The natural consequences of Defendant's statements and actions were to
 8
        produce an unpleasant and/or hostile situation between Defendant and
 9
        Plaintiff.
10

11   13.The natural consequences of Defendant's statements and actions were to

12      cause Plaintiff mental distress.
13
     14.Defendant utilized unfair and unconscionable means to collect on
14
        Plaintiffs alleged debt, by lying to and misleading Plaintiff.
15

16                          V.    CLAIM FOR RELIEF

17   15. Plaintiff repeats and realleges and incorporates by reference to the
18
        foregoing paragraphs.
19
     16.Defendants violated the FDCPA. Defendants' violations include, but are
20

21      not limited to, the following:
22
           (a) Defendant violated §1692d of the FDCPA by engaging in conduct
23
               the natural consequences of which is to harass, oppress, or abuse
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                                   COMPLAINT
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          any person in connection with the collection of an alleged debt;
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 2        and
 3
       (b) Defendant violated §1692e of the FDCPA by using a false,
 4
          deceptive, or misleading representation or means in connection
 5

 6
          with the collection ofthe alleged debt; and

 7     (c) Defendant violated §1692e(4) of the FDCPA by giving the false
 8
          representation or implication that nonpayment of the alleged debt
 9
          will result in the garnishment of wages of any person when such
10

11        action is unlawful and the Defendant does not intend to take such

12        action; and
13
       (d) Defendant violated §1692e(5) of the FDCPA by threatening to take
14
          action that the Defendant does not intend to take and/or the
15

16        Defendant cannot legally take; and

17     (e) Defendant violated §1692e(10) ofthe FDCPA by using false
18
          representation or deceptive means in connection with the collectio
19
          the alleged debt; and
20

21     (f) Defendant violated §1692jofthe FDCPA by using unfair or
22
          unconscionable means in connection with the collection of an
23
          alleged debt.
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                              COMPLAINT
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              17.Defendant's acts as described above were done intentionally with the

 2               purpose of coercing Plaintiff to pay the alleged debt
 3
              18.As a result of the foregoing violations of the FDCPA, Defendant is liable
 4
                 to the Plaintiff, Veronica Brizuela, for declaratory judgment that
 5

 6
                 Defendant's conduct violated the FDCPA, actual damages, statutory

 7               damages, and costs and attorney fees.
 8

 9
     WHEREFORE, Plaintiff respectfully requests that judgment be entered against
10

11   Defendant, GC Services, LP, for the following:

12         A. Declaratory judgment that Defendant's conduct violated the FDCP A.
13
           B. Actual damages.
14
           C. Statutory damages pursuant to 15 U.S.C. § 1692k.
15

16         D. Costs and reasonable attorney fees pursuant to 15 U.S.c. § 1692k.

17
           E. Awarding Plaintiff any pre-judgment and post-judgment interest as may be
18
              allowed under the law.
19
           F. For such other and further relief as the Court may deem just and proper.
20

21


22   III
23
     III
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                                           COMPLAINT
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                               DEMAND FOR JURy TRIAL

 2   Please take notice that Plaintiff, Veronica Brizuela, demands trial by jury in this

 3   action.
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 5

 6
                                              RESPECTFULLY SUBMITTED,
 7     DATED:       September 26,             PRICE LAW GROUP APC
       2012
 8
                                      By:/s/ David Ali Chami
 9
                                             David Ali Chami
                                             Attorney for Plaintiff
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                                          COMPLAINT
